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12                                         INFMETRY LLC
13                       UNITED STATES DISTRICT COURT
14                     EASTERN DISTRICT OF CALIFORNIA
15                            SACRAMENTO DIVISION
16
17   INFMETRY LLC,                            Case No. 1:22-cv-01075-DJC-JDP

18         Plaintiff/Counterdefendant,        ORDER GRANTING THIRD JOINT
19                                            STIPULATION TO MODIFY
     v.
                                              DISCOVERY CUTOFF DATES
20   MESSAGE IN A BOTTLE, INC.,
                                              Honorable Daniel J. Calabretta
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           Defendant/Counterclaimant.
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                                                           Case No. 1:22-cv-01075-DJC-JDP
          ORDER GRANTING THIRD JOINT STIPULATION TO MODIFY DISCOVERY CUTOFF DATES
              Case 1:22-cv-01075-DJC-JDP Document 49 Filed 06/07/24 Page 2 of 3


1             FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED THAT:
2             1.    The Parties’ Second Joint Stipulation to Modify Discovery Cutoff
3    Dates is GRANTED.
4             2.    The Court extends discovery deadlines as requested. The new deadlines
5    for the case are as follows:
6
7                  Event                   Current Date                New Date
8     Non-Expert Discovery          June 7, 2024               July 12, 2024
9     Cutoff
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      Expert Disclosure Cutoff      July 12, 2024              August 9, 2024
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      Rebuttal Expert               August 9, 2024             September 6, 2024
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      Disclosure Cutoff
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15    Expert Discovery Cutoff       September 6, 2024          September 27, 2024
16
17    Non-Dispositive Motion        Filing: October 14, 2024   Filing: October 14, 2024
18    Deadlines                     Hearing: November 21, Hearing: November 21,
19                                  2024                       2024
20                                                             (No Change)
21    Dispositive Motion            Filing: December 2, 2024 Filing: December 2, 2024
22    Deadlines                     Hearing: January 8, 2024   Hearing: January 9, 2025
23                                                             (No Change)
24    Pre-Trial Conference          April 10, 2025             April   10,     2025   (No
25                                                             Change)
26    Trial                         June 9, 2025               Jun 9, 2025 (No Change)
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                                               -1-             Case No. 1:22-cv-01075-DJC-JDP
          ORDER GRANTING THIRD JOINT STIPULATION TO MODIFY DISCOVERY CUTOFF DATES
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1
2    IT IS SO ORDERED.
3
4    Dated: June 6, 2024                  /s/ Daniel J. Calabretta
                                          THE HONORABLE DANIEL J. CALABRETTA
5                                         UNITED STATES DISTRICT JUDGE
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          ORDER GRANTING THIRD JOINT STIPULATION TO MODIFY DISCOVERY CUTOFF DATES
